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 7 United States of America
 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         CASE NO. 1:16 CR 00151 DAD
12                               Plaintiff,            ORDER TO DISMISS INDICTMENT
13                         v.
14   DANIEL HARTE,
15                               Defendant.
16
17                                  ORDER TO DISMISS INDICTMENT

18
19          Upon application of the United States of America having filed a Motion to Dimiss the Indictment

20 pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court,
21          IT IS HEREBY ORDERED that the Indictment against Defendant DANIEL HARTE is

22 DISMISSED WITHOUT PREJUDICE.
23
     IT IS SO ORDERED.
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        Dated:    January 23, 2018
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                                                     UNITED STATES DISTRICT JUDGE
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